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                              HEALTH CARE


                              Howard hospital sued over claims
                              of retaliation against former
                              staffer

                                                                                                                      




                                                                                     Howard University Hospital was
                                                                                     managed by Paladin Healthcare
                                                                                     Management for five years starting
                                                                                     in 2014.
                                                                                     JOANNE LAWTON




                              IN THIS ARTICLE


                              sharondabrown
                              Person

                              gloriagammage
                              Person

                              johntolmie
                              Person




                                       By Sara Gilgore
                                       Staff Reporter, Washington Business Journal
                                       Dec 9, 2019


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                              A former employee is suing Howard University Hospital and
                              its former operator, Paladin Healthcare Management LLC,
                              for retaliation and wrongful termination.

                              The complaint was filed Nov. 6 in U.S. District Court for the
                              District of Columbia by Sharonda Brown, HUH’s director of
                              nursing for emergency and trauma services from August
                              2015 to November 2016. It alleges that the plaintiff’s
                              immediate supervisor, Gloria Gammage, ended Brown’s
                              employment when Brown raised issues around what she
                              claims was fraudulent billing by the defendants.

                              The suit said that Brown “was
                              discharged because of her lawful efforts
                              to stop one or more violations of the False Claims Act,”
                              causing her financial and emotional damages. She is seeking
                              an order restoring her position at HUH or, as an alternative,
                              back pay for income lost because of her firing and double the
                              amount of lost pay for retaliatory termination,
                              compensatory and punitive damages, and attorneys’ fees.
                              Brown is requesting a jury trial.

                              Howard University declined to comment through a
                              spokesperson for this story. The D.C. hospital has until Jan.
                              13 to file a response to the complaint.

                              Paladin, who was the California-based hospital turnaround
                              specialist that ran Howard University Hospital from 2014 to
                              March 2019, has not returned a request for comment.
                              Paladin has verbally agreed to a similar timetable as HUH for
                              filing its response, according to Leizer Goldsmith of the
                              Goldsmith Law Firm LLC, who’s representing Brown.

                              “My whole purpose is patient safety and quality care, and in
                              anything that I was doing, everything always was initiated
                              because I was looking at a process or something that I was
                              trying to improve in the emergency department,” Brown
                              said in an interview this week with the Washington Business
                              Journal. “So when things came up that needed to be

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                              addressed, I spoke up, and when things were not being
                              resolved, I really spoke up. Every day, I followed the chain of
                              command, from reporting to my direct report to everyone."

                              Before Paladin’s involvement at Howard, the nonprofit
                              hospital had suffered a $58 million loss in fiscal 2014. It cut
                              that loss to about $20 million in fiscal 2015 on Paladin’s
                              watch before going into the black. The D.C. hospital netted
                              $18.72 million in fiscal 2016, $13.71 million in fiscal 2017 and
                              $480,000 in fiscal 2018. After Howard ended its five-year
                              agreement with Paladin earlier this year, it named John
                              Tolmie the hospital's interim CEO in April. Now Howard is
                              working toward a management agreement that would give
                              Adventist HealthCare, a regional health system based in
                              Germantown, the reins of the academic teaching facility as
                              early as next year.

                              According to the lawsuit, Brown was hired Aug. 12, 2015, to
                              oversee nursing in Howard hospital’s emergency
                              department and trauma units, serving in that role until she
                              was fired Nov. 11, 2016. During most of that time, she
                              reported to Gammage, a Paladin employee and HUH’s chief
                              nursing officer beginning in October 2015.

                              The complaint alleges that HUH was unlawfully charging
                              patients for care they didn’t receive — that patients and their
                              insurance carriers were billed “as if they had seen a
                              physician, without actually ever seeing one.” To qualify for
                              inpatient reimbursement, ER patients must receive care
                              comparable to that of admitted patients in the hospital’s
                              inpatient units, per the Centers for Medicare and Medicaid
                              Services. But Howard’s ER “lacked the capability to
                              adequately provide the inpatient level of care after
                              admission to its Medicare and Medicaid patients,” and none
                              of the required services were provided “despite Brown’s
                              extensive efforts,” the suit reads.

                              Per the complaint, Brown first notified Gammage of what
                              she said was fraudulent billing March 1, 2016. Two weeks
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                              later, after staff had been “ordered not to give too much
                              information” during a D.C. Department of Health visit,
                              Brown told a surveyor about safety failures and improper
                              billing practices at the hospital, according to the lawsuit.
                              Specifically, the complaint said, she reported the following
                              at that time:

                              ▪ That patients were being charged for admission without
                                 being admitted or receiving the services required for
                                 admitted patient reimbursement;

                              ▪ That the hospital was “engaging in Medicare fraud by
                                 billing excessively” for procedures that weren’t
                                 performed;

                              ▪ That the hospital didn’t notify Medicare upon learning of
                                 the overbilling;

                              ▪ That the person signing off on procedures wasn’t a
                                 licensed U.S. physician, only a doctor licensed in Nigeria.

                              In the subsequent months, the complaint alleges, Brown
                              made repeated efforts to address the issue: She gave
                              Gammage a proposal to fix the hospital’s practices, met
                              multiple times with Gammage to discuss DOH compliance,
                              spoke with colleagues and the hospital’s medical records
                              department about the billing practices, sent emails to
                              Gammage alleging financial fraud and presented at an
                              August group meeting evidence that the ER was charging
                              patients for drugs not given or even available on its crash
                              carts, which are stocked with medications and supplies,
                              according to the lawsuit.

                              After a death in the hospital's ER in early November, the
                              lawsuit claims, Gammage "knew Brown would be
                              imminently blowing the whistle further.” Gammage gave
                              Brown a termination letter Nov. 11, it said.

                              Brown, still based in D.C. after relocating from Atlanta for
                              the HUH position, said she has since started her own

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                              consulting business to help hospitals improve their
                              emergency department processes.

                              “We have got to make a change in health care when it comes
                              to taking care of our patients — more importantly,
                              particularly, this vulnerable population,” Brown said during
                              the interview. She chose to take legal action, she said,
                              because “it’s a way to speak up. You follow the chain of
                              commands, and if that doesn’t happen, then what? You have
                              to go all the way. And that’s what this is.

                              “The patient population is my priority,” she added. “I just
                              want things to be better, and if don’t stand up for them, who
                              will?”



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